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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

AMARILLO DIVISION
UNITED STATES OF AMERICA §
§
§
V. § CASE NO. 2:21-CR-00006-Z-BR
§ 1
§
STEVEN ANTHONY REINHART (1) §

REPORT AND RECOMMENDATION ON PLEA OF GUILTY
BEFORE THE UNITED STATES MAGISTRATE JUDGE

Defendant, STEVEN ANTHONY REINHART (1), by consent and under the authority of
United States v. Dees, 125 F.3d 261 (Sth Cir. 1997) and Third Amended Special Order 13-9,!
appeared with counsel by video teleconference before the undersigned United States magistrate
judge for the purpose of entering a plea of guilty under Rule 11 of the Federal Rules of Criminal
Procedure. The undersigned determined that Defendant knowingly and voluntarily consented to
enter a plea of guilty by video teleconferencing after consultation with counsel. Defendant also
acknowledged at the conclusion of the guilty plea proceeding that he was able to fully participate
in the proceeding even though he did so by video teleconference.

Defendant was placed under oath and personally examined in open — by the
undersigned concerning the subjects in Rule 11(b)(1) and the undersigned determined that
Defendant understood each subject.

Defendant pled guilty, under a plea bargain agreement with the government, to Count One

of the One-count Information charging Defendant with a violation of 18 U.S.C. § 4 — Misprison

 

' Special Order 13-9 and its amendments authorized the use of video teleconferencing for the taking of felony guilty
pleas in cases in which the district judge has made a finding that the plea cannot be further delayed without serious
harm to the interests of justice. Upon the joint motion of both parties, the district judge has made such a finding in
this case,

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of a Felony. After examining Defendant under oath, the undersigned magistrate judge finds the
following:
1. Defendant, upon advice of counsel, has consented orally and in writing to enter this
guilty plea before a magistrate judge subject to final approval and sentencing by the

presiding district judge;

2. Defendant fully understands the nature of the charges, including each essential
element of the offense(s) charged and the associated penalties;

3. Defendant fully understands the terms of the plea agreement and plea agreement
supplement;

4. Defendant understands all constitutional and statutory rights and wishes to waive those
tights, including the right to a trial by jury and the right to appear before a United States
district judge;

5. Defendant’s plea is made freely and voluntarily;

6. Defendant is competent to enter this plea of guilty;

7. There is a factual basis for Defendant’s plea of guilty; and

8. The ends of justice are served by acceptance of Defendant’s plea of guilty.

Based on the above, I recommend that Defendant’s plea of guilty be accepted, that
Defendant be adjudged guilty, and that sentence be imposed accordingly.

Although I have conducted these proceedings and accepted Defendant’s plea of guilty, the
United States district judge has the power to review my actions and possesses final decision-
making authority in this proceeding. Thus, if Defendant has any objections to these findings or
any other action of the undersigned, he is required to make those known to the United States district

judge within fourteen (14) days of today.

The Clerk will furnish a copy of this Order to each of attorney of record.

Signed on: February 24, 2021. TOOL

JOHN R. PARKER
UNITED STATES MAGISTRATE JUDGE

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